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                    UNITED STATES DISTRICT COURT
                ** ARRAIGNMENT & BOND APPEAL HEARING **
Case No. 1:24cr249                                                                  Date: 12/11/2024
Court Time: 11:03 a.m. – 12:16 a.m.
(01:13)

DOCKET ENTRY: ARRAIGNMENT AND BOND APPEAL HEARING


U.S.A. vs. ASIF WILLIAM RAHMAN

PRESENT: Honorable Patricia Tolliver Giles, U. S. District Judge
         Paulina Miller              , Deputy Clerk
         S. Wallace                  , Court Reporter
             Troy Edwards, Jr., Anthony Rodregous, Brett Reynolds (CES, Nat’l Security Div.) Asst. U. S. Attorney
             Dorothy Jeffress, Deborah Curtis (phv) , Attorney for Defendant
             None____________________, Interpreter

PROCEEDINGS:

☒ Defendant is arraigned and specifically advised of rights.
☒ Defendant waives reading of indictment - WFA
☐ Indictment/Information read.

PLEA: NOT GUILTY ON ALL COUNTS

☐ Defendant waived Speedy Trial and Court finds Speedy Trial to be waived - - Waiver of Speedy
Trial entered in open Court.

MOTIONS TO BE FILED BY: No Date Set
w/ ARGUMENT ON: No Date Set
CASE CONTINUED TO: No Date Set FOR JURY TRIAL

      Counsel are in discussions re: trial dates as well as complexity of case. Counsel should have a
       trial date proposal by the end of the week.
      Defendant evokes right to speedy trial.
      The Court DIRECTS counsel to file by pleading, anything re: complexity/speedy trial waiver
       documents.
☐ Discovery Order entered in open Court
[22] NOTICE OF APPEAL AND MOTION TO STAY by USA as to Asif William Rahman as to [21]
Order Setting Conditions of Release – MATTER ARGUED AND THE ORDER OF THE U.S.
MAGISTRATE JUDGE IS REVERSED.

Deft   ☒ Remanded               ☐ Continued on Bond                ☐ Released on              Bond –
                                                                   see Order Setting Conditions of Release
